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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )                  4:14CR3138
                                         )
             v.                          )
                                         )
ANDREW JOSE ESPINOZA,                    )      MEMORANDUM AND ORDER
                                         )
                    Defendant.           )
                                         )


        Andrew Jose Espinoza (the Defendant) filed a motion under 28 U.S.C. § 2255.
I have conducted an initial review of the motion1. It plainly appears from the motion,
any attached exhibits, and the record of prior proceedings that he is not entitled to
relief.

       The United States Supreme Court has held that the imposition of an increased
sentence under the residual clause of the Armed Career Criminal Act (18 U.S.C. § 924
(e)(2)(B)(ii)), violates the Constitution’s guarantee of due process. Johnson v. United
States, ___ U.S. ___, 135 S. Ct. 2551 (U.S. June 16, 2015). The Defendant argues
that the two offenses that were used to make him a career offender do not count under
Johnson and its progeny. Thus, he claims the right to a new sentence. He also argues

      1
       Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United
States District Courts provides:

              The judge who receives the motion must promptly examine it. If
      it plainly appears from the motion, any attached exhibits, and the record
      of prior proceedings that the moving party is not entitled to relief, the
      judge must dismiss the motion and direct the clerk to notify the moving
      party. If the motion is not dismissed, the judge must order the United
      States attorney to file an answer, motion, or other response within a fixed
      time, or to take other action the judge may order.
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that his counsel was ineffective “for not challenging the improperness of the two
predicate convictions that the Government used to enhance his sentence as a career
offender.” (Filing no. 158 at CM/ECF p. 13.)

      What the Defendant fails to recognize is that I separately and alternatively
upwardly departed to the same level he would have been at as a career offender. I
thought him to be a danger to the public regardless of whether he was a career
offender and that alternative sentence was affirmed on direct appeal.

      The Court of Appeals wrote:

      Shortly before he pled guilty, Espinoza violated the terms of his pretrial release
      by threatening staff at his halfway house. The revised PSR classified Espinoza
      as a career offender under U.S.S.G. § 4B1.1, due to a prior felony conviction
      for possession with intent to deliver a hazardous drug, and two prior felony
      convictions for a crime of violence (a Nebraska conviction for terroristic threats
      and a Texas conviction for burglary of a building). Espinoza objected to the
      career offender designation.

      Before sentencing, the district court notified the parties that it was considering
      an upward variance regardless of the outcome of the career offender issue
      because of Espinoza’s “extensive criminal history and the conduct that caused
      revocation of pretrial release.” At sentencing, the district court applied the
      career offender enhancement, increasing the guideline range from 130-168
      months to 188-235 months. The district court said:

                   With respect to the career offender—the legal questions regarding
            the career offender issue, even if the defendant was technically not a
            career offender, I would, nevertheless, sentence him as if he were
            because of two things. Under 18 U.S.C. § 3553(a), one of the things that
            I must ... consider is to protect the public from future crimes of the
            offender. The defendant’s criminal history in this case is, as I have said
            a moment ago, breathtaking. Moreover, the presentence report indicates
            that his pretrial release was revoked because he made threats to the staff
            at the halfway house, so to speak, where he was being treated. That
            suggests to me a very high risk—those two things suggest to me a very

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            high risk to re-offend, similar to the very high risk that we see in career
            offenders. So, I will upwardly vary accordingly.

      The court sentenced Espinoza to 188 months’ imprisonment. Espinoza argues
      that the district court erred in applying the career offender enhancement
      because the two convictions for terroristic threats and burglary of a building are
      not crimes of violence under U.S.S.G. § 4B1.2. He also claims the sentence is
      unreasonable.

      It is “unnecessary to address whether [Espinoza] qualifies as a career offender,
      because the district court’s alternative decision to vary upward from the
      advisory guideline range is sufficient to justify the sentence imposed.” See
      United States v. Hentges, 817 F.3d 1067, 1068 (8th Cir. 2016). The discussion
      at sentencing shows that “the district court thought the sentence it chose was
      appropriate irrespective of the Guidelines range.” Molina–Martinez v. United
      States, ––– U.S. ––––, 136 S.Ct. 1338, 1346–47, 194 L.Ed.2d 444 (2016)
      (“Judges may find that some cases merit a detailed explanation of the reasons
      the selected sentence is appropriate. And that explanation could make it clear
      that the judge based the sentence he or she selected on factors independent of
      the Guidelines.”).

      This court “may not apply a presumption of unreasonableness” when a sentence
      is outside the guidelines range. United States v. Moralez, 808 F.3d 362, 368
      (8th Cir. 2015). This court “may consider the extent of the deviation, but must
      give due deference to the district court’s decision that the § 3553(a) factors, on
      a whole, justify the extent of the variance.” Id. Espinoza violated his pretrial
      release by threatening the staff at his halfway house. The district court found
      that he had a high risk of re-offending, and that the need to protect the public
      outweighed any mitigating factors. Espinoza’s sentence—20 months above the
      original guidelines—is based on the court’s consideration of the statutory goals
      of sentencing and factors in § 3553(a). See Hentges, 817 F.3d at 1068–69
      (affirming district court’s upward variance based, in part, on defendant’s
      “extensive criminal history”, and his “extremely poor” performance on
      correctional supervision). The district court’s above-guidelines sentence is
      reasonable.

United States v. Espinoza, 831 F.3d 1096, 1098 (8th Cir. 2016).


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       In short, the Defendant is not entitled to relief because I imposed a sentence in
the alternative and the Court of Appeals affirmed that alternative sentence. His lawyer
could not have been ineffective for not challenging the “predicate offenses” because
I treated the offenses as normal criminal history and not “predicate offenses.”
Besides, the Defendant does not contend that his criminal history was inaccurate.2

       Finally, a defendant cannot appeal an adverse ruling on a § 2255 motion unless
he or she is granted a certificate of appealability. 28 U.S.C. § 2253(c)(1); 28 U.S.C.
§ 2253(c)(2); Fed. R. App. P. 22(b)(1). The standards for certificates (1) where the
district court reaches the merits or (2) where the district court rules on procedural
grounds are set for in Slack v. McDaniel, 529 U.S. 473, 484-485 (2000). I have
applied the appropriate standard and determined that the Defendant is not entitled to
a certificate of appealability.

      IT IS ORDERED that the § 2255 motion (filing no. 158) is denied with
prejudice, no certificate of appealability will be issued, and judgment will be entered
by separate document. The motion for appointment of counsel (filing no. 159) is
likewise denied.

      DATED this 31st day of October, 2016.

                                        BY THE COURT:

                                        s/ Richard G. Kopf
                                        Senior United States District Judge




      2
       His lawyer was the superb Assistant Federal Public Defender John
Vanderslice. Prior to sentencing, it is the typical practice for Mr. Vanderslice to
request and receive from the probation officer the underlying documents for criminal
history that is counted.
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